Case 2:12-cv-00512-JFB-AKT Document 311 Filed 08/05/21 Page 1 of 1 PageID #: 20407




                                                    August 5, 2021



  via ELECTRONIC FILING
  Magistrate Judge A. Kathleen Tomlinson
  United States District Court Judge
  Eastern District of New York
  100 Federal Plaza
  Central Islip, N.Y. 11722

                       Re:    Thomas M. Moroughan v. County of Suffolk, et al.
                              12-CV-0512 (JFB)(AKT)

  Dear Judge Tomlinson:

         I am writing per Your Honor’s order of July 30, 2021, regarding a settlement conference
  in connection with the above matter. Unfortunately, my client does not have sufficient fund to
  meaningfully contribute to a settlement.


                                             Respectfully Submitted,



                                                    /s/ Bruce Barket
                                             Bruce A. Barket, Esq.

  cc:    All counsel of record via ECF
